       Case 1:21-cr-00177-CRC Document 123 Filed 03/09/23 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

      v.                                        Case No. 21-cr-177-CRC

DANIEL DEAN EGTVEDT

           Defendant.

              GOVERNMENT’S NOTICE OF FILING OF VIDEO EXHIBITS
                   PURUSANT TO LOCAL CRIMINAL RULE 49

       The United States of America, through the undersigned, hereby gives this notice

pursuant to Local Criminal Rule 49, of the following video exhibits to the Government’s

Sentencing Memorandum. The videos have been provided to defense counsel in discovery, and

were entered into evidence during the defendant’s trial. The videos will be provided to defense

counsel and the Court via USAfx. As videos, they are not in a format that readily permits

electronic filing on CM/ECF.

       The videos are as follows:

  1. Gov. Ex. 201: USCP CCTV – Senate Wing Door 2:11 pm

  2. Gov. Ex. 202a: USCP CCTV – Senate Wing Door 2:31 pm

  3. Gov. Ex. 202b: USCP CCTV – Senate Wing Door 2:39 pm

  4. Gov. Ex. 202c: USCP CCTV – Senate Wing Door 3:05 pm

  5. Gov. Ex. 208: USCP CCTV - Hall of Columns South Door 3:10 pm

  6. Gov. Ex. 301: MPD Officer James Albright Body Worn Camera (“BWC”).
                                          1
        Case 1:21-cr-00177-CRC Document 123 Filed 03/09/23 Page 2 of 2




  7. Gov. Ex. 302: MPD Officer Michel DaCruz BWC

  8. Gov. Ex. 303: MPD Officer Joseph Campbell BWC

  9. Gov. Ex. 304: MPD Officer Michael Jankowski BWC

  10. Gov. Ex. 306: MPD Officer Marina Bronstein BWC

  11. Gov. Ex. 401: Parler - ProPublica 1447 hours - dM4L9bbfDmJ1

  12. Gov. Ex. 402: Baked Alaska Dlive Interview 1 (“Come get in here now”)

  13. Gov. Ex. 403: Baked Alaska Dlive Interview 2 (“Police are traitors”)

  14. Gov. Ex. 404: Daniel Egtvedt YouTube Interview Video (“‘Two Americans Have Been

      Shot Inside Our Own Capitol Building’ Trump Supporter Claims”)

  15. Gov. Ex. 405: Ruptly Video (Daniel Egtvedt at U.S. Capitol Columbus Doors)

       If the Court accepts the proposed video exhibits into evidence, the United States takes

the position that the entered exhibits should be promptly released to the public.

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY

                                 BY:        /s/ Colleen D. Kukowski
                                            Colleen D. Kukowski
                                            Michael C. Liebman
                                            Assistant United States Attorneys
                                            601 D Street, N.W.
                                            Washington, D.C. 20530
                                            (202) 252-2646 (Kukowski)
                                            (202) 252-7243 (Liebman)
                                            Colleen.Kukowski@usdoj.gov
                                            Michael.Liebman@usdoj.gov
                                                2
